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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF CONNECTICUT



UNITED STATES OF AMERICA,             :
                                      :
     v.                               :      CASE NO. 3:96CR185(RNC)
                                      :
MARCOS PAPPAS                         :



                             RULING ON MOTIONS

    Pending before the court are competing motions filed in

response to the court's September 2011 Order (doc. #456)

unsealing case document #231.       For the reasons set forth below,

the government's Motion for Reconsideration of the order (doc.

#469) is granted, the defendant's Motion for Enforcement of the

order (doc. #470) is denied as moot, and Doc. #231 is ordered to

remain sealed.

    A.    Procedural History

    In July 1997, after a criminal trial, defendant Markos

Pappas was convicted of Conspiracy to Distribute a Controlled

Substance, Conspiracy to Retaliate against a Witness, and

Retaliating against a Witness.       (Doc. #187.)      In February 1998,

the government filed Doc. #231, which was a sealed, ex parte

Motion to Continue Sentencing Date.          Judge Dorsey granted the

government's motion and postponed sentencing for six weeks.                  In
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March 1998, Judge Dorsey sentenced Pappas to 30 years of

incarceration.   (Docs. #243, #246.)

    In October 2001, Pappas filed a Motion to Unseal four case

documents, including Doc. #231.        (Doc. #321.)   In March 2003,

Judge Dorsey granted the motion.       (Doc. #358.)    However, in

September 2003, Judge Dorsey ordered that Doc. #231 remain

sealed and gave the following explanation:

    In 3/03, Government's Ex Parte Motion (#231) was
    unsealed. With respect to #231, the order granting
    that unsealing (#358) is hereby vacated for security
    reasons. It is noted, however, that the information
    contained in #231 was considered for no other purpose
    than scheduling the date of sentencing. The motion
    had no impact on the actual sentence imposed. It is
    hereby ordered that Government's Ex Parte Motion #231
    be SEALED.

(Doc. #364.)

    In July 2011, eight years later, Pappas filed a second

Motion to Unseal and for Disclosure of Doc. #231.            (Doc. #455.)

The government did not oppose the motion.        In September 2011,

Judge Dorsey granted the Motion to Unseal without providing any

explanation.   (Doc. #456.)

    After Judge Dorsey passed away in January 2012, the case

was transferred to District Judge Robert N. Chatigny, who

referred it to the undersigned.        (Doc. #467.)   In August 2012,

after three motions for extension of time, the government filed

the pending Motion for Reconsideration.       (Doc. #469.)       Pappas



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responded by filing the pending Motion for Enforcement.            (Doc.

#470.)

    B.    Discussion

    The standard for granting a motion for reconsideration "is

strict, and reconsideration generally will be denied unless the

moving party can point to controlling decisions or data that the

court overlooked — matters, in other words, that might

reasonably be expected to alter the conclusion reached by the

court."   Shrader v. CSX Transp., Inc., 70 F.3d 255, 257 (2d Cir.

1995) (citations omitted).     "The major grounds justifying

reconsideration are 'an intervening change of controlling law,

the availability of new evidence, or the need to correct a clear

error or prevent manifest injustice.'"       Virgin Atl. Airways,

Ltd. v. Nat'l Mediation Bd., 956 F.2d 1245, 1255 (2d Cir. 1992)

(citing 18 Charles A. Wright, Arthur R. Miller & Edward H.

Cooper, Federal Practice and Procedure § 4478, at 790 (1981)).

    In this case, reconsideration is appropriate to prevent a

manifest injustice.     The court has reviewed Doc. #231 in camera

review and concludes that the document should remain sealed for

several reasons.    First, the sealed document contains

information provided by a person cooperating with a government

investigation.     Disclosure of the document would reveal the

informant's identity to Pappas, who was convicted in 1997 on two

counts of witness intimidation.        Second, the document does not

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fall within the ambit of material required to be disclosed under

Brady v. Maryland, 373 U.S. 83 (1963), or Giglio v. United

States, 405 U.S. 150 (1972).     Finally, there is nothing in Doc.

#231 to support Pappas's argument that it affected his sentence.

Judge Dorsey plainly articulated in 2003 that "the information

contained in #231 was considered for no other purpose than

scheduling the date of sentencing" and "had no impact on the

actual sentence imposed."1     (Doc. #364.)    In light of the

foregoing, Pappas is not entitled to the document, and there is

good cause for allowing it to remain sealed.

     C.    Conclusion

     The government's Motion for Reconsideration, doc. #469, is

granted.    It is hereby ORDERED that Doc. #231 shall remain

sealed, and Pappas's Motion for Enforcement, doc. #470 is denied

as moot.

     SO ORDERED at Hartford, Connecticut this 28th day of

December, 2012.

                                 ________________/s/___________
                                 Donna F. Martinez
                                 United States Magistrate Judge




     1
      The court does not speculate as to Judge Dorsey's reason
for subsequently unsealing the document in 2011 but notes that
no opposition to the motion was filed at that time.
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